902 F.2d 1566Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John Richard NEWSOME, Petitioner-Appellant,v.Michael E. BUMGARNER;  NC Attorney General, Respondents-Appellees.
    No. 89-6357.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 20, 1990.Decided April 26, 1990.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Greensboro.  Eugene A. Gordon, Senior District Judge.  (C/A No. 88-1227-G)
      John Richard Newsome, appellant pro se.
      Richard Norwood League, Office of the Attorney General of North Carolina, Raleigh, N.C., for appellee.
      M.D.N.C.
      DISMISSED.
      Before MURNAGHAN, SPROUSE and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      John Richard Newsome seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we grant leave to proceed in forma pauperis, deny a certificate of probable cause, and dismiss the appeal on the reasoning of the district court.  Newsome v. Bumgarner, CA-88-1227-G (M.D.N.C. Nov. 27, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    